     Case: 1:13-cv-00228-GHD-DAS Doc #: 46 Filed: 12/04/14 1 of 1 PageID #: 365




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

ACH, LLC, individually and derivatively       )
on behalf of PEACHTREE COLUMBUS               )
INVESTORS, LLC,                               )
                                              )         CIVIL ACTION FILE NO.
         Plaintiff,                           )         1:13CV228-GHD-DAS
                                              )
v.                                            )
                                              )
PEACHTREE COLUMBUS III, LLC,                  )
MHG, LP, COLUMBUS LAND                        )
DEVELOPMENT, LLC, and                         )
JATIN DESAI,                                  )
                                              )
         Defendants.                          )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff and Defendants hereby dismiss this

action with prejudice, with each party bearing their own costs.

                                                  /s/ J. Gordon Flowers
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